Case 2:23-cv-06529-NJC-ARL Document 50 Filed 12/29/23 Page 1 of 4 PageID #: 521




    UNITED STATES DISTRICT COURT FOR THE
    EASTERN DISTRICT OF NEW YORK
    ------------------------------------------------------------------X
    BULLION SHARK, LLC.,

                                                Plaintiff,                DECLARATION OF
                                                                          CHRISTINA CAPPELLO
                                                                          IN SUPPORT OF
                                                                          OPPOSITION TO
                              -against-                                   MOTION FOR
                                                                          RECONSIDERATION

                                                                          Index No. 23-CV-6529
    FLIP A COIN BULLION LLC, MATTHEW
    FORMAN, CHRISTINA CAPPELLO, JACOB
    FORMAN and JOSEPH FORMAN,

                                                 Defendants.
    ------------------------------------------------------------------X

            CHRISTINA CAPPELLO, duly sworn, deposes and says, under the penalty of

    perjury:

            1. I am one of the individual Defendants in this case, and I am familiar with the

    pleadings and proceedings previously made in this case. This Declaration is submitted in

    support of Defendants’ Opposition to Plaintiff’s Motion for Reconsideration of this Court’s

    denial of Plaintiff’s Motion for Temporary Restraining Order.

            2. We have multiple sources where we buy leads from. In this litigation, we have

    only provided one company that we buy leads from, as an example only. The Plaintiff

    Bullion Shark, LLC. now has a portion of our leads, and representatives of Bullion Shark are

    calling our clients. We have heard from a few of our clients that representatives of Bullion

    Shark are defaming us in these communications.
Case 2:23-cv-06529-NJC-ARL Document 50 Filed 12/29/23 Page 2 of 4 PageID #: 522




           3. We have no sales at all from James Mccory, Michael Perrault, Paul Shuliga,

    Matthew Alvey, or Mark Luke. If representatives of Bullion Shark were losing commissions

    and sales from those individuals, that would have nothing to do with us.

           4. We have no sales from John Lafalgio. His name might have came up on a lead list,

    but any conversation with him would have been short because once someone tells us they

    work with a different company, we respect their decision and end the conversation.

           5. Representatives of Bullion Shark are clearly manipulating John Lafagio, as shown

    in the vulgar text messages provided by Bullion Shark.

           6. Bullion Shark claims that I copied supplier contact information prior to leaving my

    employment. This statement is untrue.

           7. Suppliers / vendors are public knowledge and they come up in ordinary Google

    searches.

           8. In paragraph 9 of the Declaration of Nicholas Adamo, he states that he reached out

    to Matthew Forman and asked him to review and sign the agreement. This is untrue.

           9. In paragraph 10 of the Declaration of Nicholas Adamo, he states that Bullion Shark

    would not have keep Matthew Forman as an employee if he did not sign the employment

    agreement. This is untrue. Bullion Shark kept Matthew Forman because he was bringing in a

    lot of money as one of the top sales representatives.




                                                 2
Case 2:23-cv-06529-NJC-ARL Document 50 Filed 12/29/23 Page 3 of 4 PageID #: 523




           10. In paragraph 11 of the Declaration of Nicholas Adamo, he states that Matthew

    Forman signed an employment agreement. In paragraph 15 of the Declaration of Nicholas

    Adamo, he states that I signed an employment agreement.

           11. Neither Matthew Forman nor I were never explained thoroughly what a non-

    compete is, or what was in any employee agreement, and we do not recall signing anything.

           12. Jacob Forman was 16 years old and a junior in high school at the time he began

    employment with Bullion Shark. Jacob Forman was never informed of what a non-compete

    was, nor was he aware of having to sign anything. Because he was a minor, any papers

    should have been sent home to his father Joseph Forman.

           13. If we had actually stolen Bullion Shark’s master list of clients, we would have

    much more business right now.

           14. Bullion Shark says that they spent over one million dollars in advertising and that

    their master list has over 7,000 leads, yet they only claim to have heard back from the few

    people they identified in their Motion, who represent less than one percent of the master list.

    We have not even had sales from those few people. If we had actually stolen Bullion Shark’s

    master list, after being in business for four months, we would have far more clients. Simple

    math and common sense shows that we did not take Bullion Shark’s master list.

           15. The market for our type of business is extremely small; the customers are getting

    contacted every day by multiple other vendors. Whether a customer chooses to do business

    with us or another company is up to them.

           16. John from SalesLeads.TV has even told us he resells the exact lead lists to

    multiple companies, so we and Bullion Shark are bound to come in contact with a few

    mutual people.




                                                3
Case 2:23-cv-06529-NJC-ARL Document 50 Filed 12/29/23 Page 4 of 4 PageID #: 524




           17. Bullion Shark is claiming that we stole their leads, but Bullion Shark has made it

    extremely clear that they asked John Fischer from SalesLeads.TV for our exact lead list.

    When we first bought our lead list from Fischer months ago, Fischer represented to us that he

    does not resell his leads, and that is why we chose to do business with him. However,

    Nicholas Adamo of Bullion Shark, having an apparent past relationship with Fischer,

    manipulated Fischer by paying him for our exact lead list. Adamo manipulated Fischer into

    doing something unethical, which Bullion Shark has done multiple times in the past.

    Representatives of Bullion Shark are now calling our leads, and we have been told that

    representatives of Bullion Shark are defaming us. We have tried to come up with a solution

    in the past to cross-reference all customers of both companies to avoid this, but Bullion Shark

    has refused to cooperate.



                                                         x_____________________
                                                         CHRISTINA CAPPELLO

                                                         on behalf of Defendants




                                                4
